Case 4:14-cv-00707-GKF-tlw Document 21 Filed in USDC ND/OK on 05/08/15 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) GEORGE P. ASSAD, JR., On Behalf of              )
  Himself and All Others Similarly Situated,          )
                                                      )
                 Plaintiff,                           )
                                                      )
  v.                                                  )       Case No. 14-CV-707-GKF-TLW
                                                      )
  (1) APCO OIL AND GAS                                )
  INTERNATIONAL, INC.,                                )
  (2) RICHARD E. MUNCRIEF,                            )
  (3) BRYAN K. GUDERIAN,                              )
  (4) J. KEVIN VANN,                                  )
  (5) KEITH BAILEY,                                   )
  (6) PIERO RUFFINENGO,                               )
  (7) ROBERT LAFORTUNE,                               )
  (8) PLUSPETROL RESOURCES                            )
  CORPORATION, and                                    )
  (9) PLUSPETROL BLACK RIVER                          )
  CORPORATION,                                        )
                                                      )
                 Defendants.                          )

                                               ORDER

         On April 1, 2015, the court issued an Order to Show Cause why this case should not be

  dismissed for failure to timely effectuate service. [Dkt. #20]. Plaintiff Assad did not respond to

  the court’s order.

         WHEREFORE, the court dismisses this case without prejudice for failure to timely serve

  defendants as required by Fed. R. Civ. P. 4(m).

         IT IS SO ORDERED this 8th day of May, 2015.
